Case 1:20-cv-04816-TCB Document 58-3 Filed 12/16/21 Page 1 of 4




        Exhibit 2
    Case 1:20-cv-04816-TCB Document 58-3 Filed 12/16/21 Page 2 of 4




           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

HEALTHIER CHOICES
MANAGEMENT CORP.,

                Plaintiff,
                                        Case No. 1:20-cv-04816-TCB
     v.

PHILIP MORRIS USA, INC. and PHILIP
MORRIS PRODUCTS S.A.,

                Defendants.




DECLARATION OF ELIZABETH S. WEISWASSER IN SUPPORT OF
      DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES
       Case 1:20-cv-04816-TCB Document 58-3 Filed 12/16/21 Page 3 of 4




      I, ELIZABETH S. WEISWASSER, declare as follows:

      1.     I am a partner in the law firm of Weil, Gotshal & Manges LLP (“Weil”),

counsel for Philip Morris USA, Inc. (“PMUSA”) in the above-captioned case. I am

licensed to practice law in the state of New York, among other jurisdictions, and am

a member in good standing of the State Bar of New York.

      2.     I submit this declaration in support of Defendant PMUSA’s motion for

attorneys’ fees.

      3.     I have personal knowledge of the facts set forth in this declaration, and

could testify competently to these facts if called as a witness.

      4.     Since Weil began representing PMUSA against the infringement claim

brought by Plaintiff Healthier Choices Management Corp. (“HCM”) in November

2020, PMUSA has spent attorneys’ fees and filing costs to defend itself, including

performing tasks in response to HCM’s infringement complaint, and other legal

tasks to provide a complete defense to HCM’s allegations, including, for example,

preparing and filing a motion to dismiss the complaint, a reply brief in support of the

same, addressing and responding to HCM’s motion for leave to file an amended

complaint.

      5.     In its motion, PMUSA is seeking only fees relating to tasks performed

in response to HCM’s infringement complaint, amounting to $307,459.85 in fees
       Case 1:20-cv-04816-TCB Document 58-3 Filed 12/16/21 Page 4 of 4




due to work performed by Weil. This amount represents time spent by Weil

attorneys, paraprofessionals, and attorney support staff on district court litigation

tasks performed in response to HCM’s infringement complaint between November

30, 2020 and December 3, 2021. This number is approximate, as Weil’s billing

system has not yet finalized fees due for work performed in December 2021.

                                    *      *      *

      I declare upon penalty of perjury under the laws of the United States and the

State of California that the foregoing is true and correct.



      Executed on December 15, 2021 in New York City, NY.



                                        /s/ Elizabeth S. Weiswasser

                                        Elizabeth S. Weiswasser
